
895 N.E.2d 2 (2008)
PEOPLE State of Illinois, respondent,
v.
Gregory HOPE, petitioner.
No. 106255.
Supreme Court of Illinois.
September 24, 2008.
Leave to appeal, Appellate Court, First District. (X-XX-XXXX).
Petition for leave to appeal denied.
In the exercise of this Court's supervisory authority, the Appellate Court, First District, is directed to vacate its judgment in People v. Hope, case No. 1-06-0915 (02/22/08). The appellate court is directed to reconsider its judgment in light of People v. Jamison, 229 Ill.2d 184, 322 Ill.Dec. 10, 890 N.E.2d 929 (2008), to determine whether a different result is warranted.
